     Case 2:20-cv-11752-SB-PVC Document 12 Filed 03/16/21 Page 1 of 2 Page ID #:38



1
     Todd M. Friedman (SBN 216752)
2    Adrian R. Bacon (SBN 280332)
     LAW OFFICES OF TODD M. FRIEDMAN, P.C.
3
     21550 Oxnard St. Suite 780,
4    Woodland Hills, CA 91367
5
     Phone: 877-206-4741
     Fax: 866-633-0228
6    tfriedman@toddflaw.com
7     abacon@ toddflaw.com
     Attorneys for Plaintiff
8

9                      UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA
10

11   TERRY FABRICANT, individually                       ) Case No.
12   and on behalf of all others similarly               )
     situated,                                           )  2:20-cv-11752
13
     Plaintiff,                                          )
14   vs.                                                 )
     ENVISION CAPITAL GROUP LLC,                         ) NOTICE OF SETTLEMENT
15
     and DOES 1 through 10, inclusive, and               ) AS TO INDIVIDUAL CLAIMS
16   each of them,                                       ) ONLY
17   Defendant.                                          )
                                                         )
18
                                                         )
19
           NOW COMES THE PLAINTIFF by and through their attorney to
20
     respectfully notify this Honorable Court that this case has settled individually as
21
     to all named Defendants. Plaintiff requests that this Honorable Court vacate all
22
     pending hearing dates and allow sixty (60) days with which to file dispositive
23

24
     documentation. This Court shall retain jurisdiction over this matter until fully

25
     resolved.

26   Dated: March 16, 2021            Law Offices of Todd M. Friedman, P.C.
27
                                                              By: s/ Adrian R. Bacon
28
                                                                    Adrian R. Bacon



                                       Notice of Settlement
     Case 2:20-cv-11752-SB-PVC Document 12 Filed 03/16/21 Page 2 of 2 Page ID #:39



1
                             CERTIFICATE OF SERVICE
2

3    Filed electronically on March 16, 2021, with:
4
     United States District Court CM/ECF system
5

6
     Notification sent electronically on March 16, 2021, to:

7    To the Honorable Court, all parties and their Counsel of Record
8

9
     s/Adrian R. Bacon
10    Adrian R. Bacon
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                       Notice of Settlement
